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January 11, 2022


Honorable J.P. Stadtmueller
United States District Court
517 E. Wisconsin Avenue
Milwaukee, WI 53202

Re:       United States v. David Kadlec
          Case No. 97-cr-98

Dear Judge Stadtmueller:

We have had a chance to review Mr. Kadlec’s motion for compassionate release, which
appears to raise valid reasons for consideration of compassionate release and that would
benefit from the assistance of counsel. Unfortunately, we have determined that our office
has a conflict in this matter. Accordingly, we are requesting that the Court order the
appointment of counsel. Upon receiving such an order, we will promptly seek counsel to
assist Mr. Kadlec.

I apologize for the delay in responding to the Court’s order, which was the result of my
oversight.

Thank you for your consideration.




                                          Milwaukee · Madison · Green Bay
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Sincerely,


s/ Craig W. Albee
Craig W. Albee

CWA/jmb




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